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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-552V
                                       Filed: July 13, 2020
                                         UNPUBLISHED


    MICHAEL RUTZ,                                                 Special Master Horner

                         Petitioner,
    v.                                                            Petitioner’s Motion for Decision
                                                                  Dismissing Petition; Tdap
    SECRETARY OF HEALTH AND                                       Vaccine; Influenza (flu) vaccine;
    HUMAN SERVICES,                                               Biceps tendinitis

                        Respondent.


Bridget Candance McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                                DECISION1

        On April 17, 2018, petitioner filed a claim under the National Childhood Vaccine
Injury Act, 42 U.S.C. § 300aa-10-34 (2012), alleging that he suffered right shoulder
injuries as a result of his receipt of the Tdap and influenza vaccinations on November
12, 2016. (ECF No. 1.) On March 4, 2019, petitioner amended his petition to allege
more specifically that he suffered biceps tendinitis as a result from his November 12,
2016 vaccinations. (ECF No. 24.) On June 4, 2019, respondent filed his Rule 4 report,
recommending against compensation. (ECF No. 27.) On June 11, 2020, petitioner filed
a status report, stating that petitioner was unable to file an expert report to support his
claim and requested 30 days to inform the Court on how petitioner wishes to proceed.
(ECF No. 44.)

      On July 9, 2020, petitioner filed a Motion for a Decision Dismissing his Petition.
(ECF No. 45.) Petitioner indicated that “[a]n investigation of the facts and science
supporting his case has demonstrated that he will be unable to prove that he is entitled

1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
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to compensation in the Vaccine Program,” and that “to proceed further would be
unreasonable and would waste the resources of the Court, the respondent and Vaccine
Program.” (Id. at 1.) Petitioner further stated that “[p]etitioner understands that a
decision by the Special Master dismissing his petition will result in a judgment against
him. [Petitioner] has been advised that such a judgment will end all of his rights in the
Vaccine Program. Petitioner understands that he may apply for costs once his case is
dismissed and judgment is entered against him.” (Id. at 1.)

        To receive compensation in the Vaccine Program, petitioner must prove either
(1) that he suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table
– corresponding to a covered vaccine, or (2) that he suffered an injury that was actually
caused by a covered vaccine. See §§ 13(a)(1)(A) and 11(c)(1). To satisfy his burden of
proving causation in fact, petitioner must show by preponderant evidence: “(1) a
medical theory causally connecting the vaccination and the injury; (2) a logical
sequence of cause and effect showing that the vaccination was the reason for the
injury; and (3) a showing of a proximate temporal relationship between vaccination and
injury.” Althen v. Sec’y of Health & Human Servs., 418 F.3d 1274, 1278 (Fed. Cir.
2005). The Vaccine Act, 42 U.S.C. § 300aa-13(a)(1), prohibits the undersigned from
ruling for petitioner based solely on his allegations unsubstantiated by medical records
or medical opinion.

       Petitioner’s medical records do not support his allegations by a preponderance of
the evidence and he did not file a medical opinion from an expert in support of his
allegations. Accordingly, the undersigned GRANTS petitioner’s Motion for Decision
Dismissing Petition and DISMISSES this petition for failure to establish a prima facie
case of entitlement to compensation.

                                           CONCLUSION

     This case is now DISMISSED. The clerk of the court is directed to enter
judgment in accordance with this decision.2


IT IS SO ORDERED.

                                                                  s/Daniel T. Horner
                                                                  Daniel T. Horner
                                                                  Special Master




2 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.

                                                    2
